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                                               #218



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                          )
                                                   )
                        Plaintiff,                 )
                                                   )
vs.                                                )    CRIMINAL NO. 09-40069-4-GPM
                                                   )
KASS A. BARNES,                                    )
                                                   )
                        Defendant.                 )

                            MEMORANDUM AND ORDER
MURPHY, District Judge:

        This matter is before the Court on the Motion to Reconsider Denial of Motion for Psychiatric

Evaluation or in the Alternative Request for Hearing to Determine Competence to Stand Trial

brought by Defendant Kass A. Barnes (Doc. 118). The Court having considered the matter carefully,

the motion is GRANTED. The United States Marshals Service is directed to transport Defendant

forthwith to an institution authorized to give such an evaluation.

        It is further ORDERED that a psychiatric or psychological examination of Defendant be

conducted by a licensed or certified psychiatrist or psychologist at an institution to be designated by

the Attorney General of the United States (“Attorney General”). The examination shall be completed

within thirty (30) days unless an extension of this time is granted by the Court. A psychiatric or

psychological report, or both, shall be filed with this Court in accordance with Title 18, United States

Code, Section 4247(c), with copies to counsel, which shall include:

        1.      Defendant’s history and present symptoms;

        2.      A description of the psychiatric, psychological, and medical tests that were employed



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and their results;

        3.      The examiner’s findings;

        4.      The examiner’s opinion whether Defendant is suffering from a mental disease or

defect rendering her mentally incompetent to the extent that she is unable to understand the nature

and consequences of the proceedings against her or to assist properly in her defense; and

        5.      The examiner’s opinion as to whether Defendant was insane at the time of the offense

charged.

        Defendant is further ORDERED committed to the Attorney General for placement in a

suitable facility for a reasonable period, but not to exceed thirty (30) days.

        The thirty (30) days allowed for the examination under this Order shall begin on the day

Defendant physically reports to the designated institution.

        IT IS SO ORDERED.

        DATED: December 1, 2009


                                                       /s/ G. Patrick Murphy
                                                       G. PATRICK MURPHY
                                                       United States District Judge




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